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                         Exhibit 126

                August 13, 2024 Notice
                Delivery Confirmation
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From:        TrackingUpdates@fedex.com
To:          Josh Weiner
Subject:     FedEx Shipment 777944113740: Your package has been delivered
Date:        8/15/2024 11:53:00 AM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




               Hi. Your package was
           delivered Thu, 08/15/2024 at
                     10:40am.



                 Delivered to 10805 OLD MILL RD, OMAHA, NE 68154
                                Received by A.APLLIED

                             OBTAIN PROOF OF DELIVERY




                                            1
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                  How was your delivery ?




              TRACKING NUMBER            777944113740


                             FROM        SPARTA Insurance Holdings, Inc
                                         5 Batterson Park Road
                                         3rd Floor
                                         FARMINGTON, CT, US, 06032


                               TO        Pennsylvania Insurance Company
                                         Jeffrey A. Silver
                                         10805 OLD MILL RD
                                         OMAHA, NE, US, 68154


                         SHIP DATE       Tue 8/13/2024 06:18 PM


                  DELIVERED TO           Shipping/Receiving


                PACKAGING TYPE           FedEx Envelope


                            ORIGIN       FARMINGTON, CT, US, 06032


                   DESTINATION           OMAHA, NE, US, 68154


              SPECIAL HANDLING           Deliver Weekday


              NUMBER OF PIECES           1


         TOTAL SHIPMENT WEIGHT           0.50 LB


                  SERVICE TYPE           FedEx 2Day®




                                     2
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                                                    Easy options for your
                                                    next shipment
                                                    There’s no need to weigh packages
                                                    or calculate shipping costs with
                                                    FedEx One Rate®. Enjoy an easy
                                                    shipping process with predictable
                                                    pricing and complimentary flat-rate
                                                    packaging options.


                                                    EXPLORE FEDEX ONE RATE




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   Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 10:52 AM CDT 08/15/2024.


All weights are estimated.


To track the latest status of your shipment, click on the tracking number above.


Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see
the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
Guarantee, or contact your FedEx Customer Support representative.


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Thank you for your business.




                                       4
